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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 IN THE MATTER OF                                   Case No. 19-mj-00166-NRN

 United States v. Jesse Wayne Hart


                       ORDER TO RESTRICT AFFIDAVIT [Doc #1]



  Upon the motion of the United States of America, and for good cause shown, it is
ORDERED as follows:

   1) restriction of the affidavit in support of a criminal complaint (“Affidavit”) [Doc #1] to

       Level 2 is appropriate for good cause shown under D.C.Colo.LCrR 47.1 such that the

       complaint Affidavit in the above-captioned matter is restricted at Level 2 until further

       order of the Court;


       DATED this __ day of August 2019


                                             BY THE COURT:




                                             UNITED STATES MAGISTRATE JUDGE
                                             DISTRICT OF COLORADO
